
658 S.E.2d 484 (2008)
FAIRVIEW DEVELOPERS, INC. and J.C.H. Holdings, LLC
v.
Mickey MILLER.
No. 585P07.
Supreme Court of North Carolina.
January 24, 2008.
Matthew Smith, for Fairview Developers, et. al.
Richard Fennell, Preston O. Odom, III, Charlotte, for Miller.
S. Stephen Goodwin, Jr., Indian Trail, for Fairview Developers, et al.
Prior report: ___ N.C.App. ____, 652 S.E.2d 365.

ORDER
Upon consideration of the petition filed on the 10th day of December 2007 by Plaintiffs in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 24th day of January 2008."
